                          Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 1 of 12


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Watson Grinding & Manufacturing Co.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  McDowell Hetherington LLP
                                                                                                  1001 Fannin, Suite 2700
                                  4525 Gessner Road                                               Houston, TX 77002
                                  Houston, TX 77041
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.watsongrinding.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 2 of 12
Debtor    Watson Grinding & Manufacturing Co.                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                            33-2812

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                            Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 3 of 12
Debtor   Watson Grinding & Manufacturing Co.                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 4 of 12
Debtor    Watson Grinding & Manufacturing Co.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 6, 2020
                                                  MM / DD / YYYY


                             X   /s/ Robert White                                                         Robert White
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Operating Officer




18. Signature of attorney    X   /s/ Jarrod B. Martin                                                      Date February 6, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jarrod B. Martin
                                 Printed name

                                 McDowell Hetherington LLP
                                 Firm name

                                 1001 Fannin, Suite 2700
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 337-5580                Email address      jarrod.martin@mhllp.com

                                 24070221 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
        Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 5 of 12




                                        GLOBAL NOTES

        On the date hereof, each of Watson Grinding & Manufacturing Co. and Watson Valve
Services, Inc. have significant contingent, unliquidated, and disputed liabilities. The estimation of
assets and liabilities set forth in the Petition are unknown and could substantially vary from the
estimations provided. Nothing in the petition shall be deemed an admission of liability. The Debtor
reserves all rights to object to any claims against them.

       On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case (collectively, the “Debtors”), filed a petition with this Court for relief under
chapter 11 of the Bankruptcy Code. Contemporaneously with the filing of their petitions, the
Debtors filed a motion requesting that the chapter 11 cases of the entities listed below be
consolidated for procedural purposes only and jointly administered pursuant to Rule 1015(b) of
the Federal Rules of Bankruptcy Procedure.

                                        Debtor Name
                             Watson Grinding and Manufacturing Co.
                                  Watson Valve Services, Inc.


         On the date hereof, the Debtors do not have access to all of their books and records. The
list of twenty largest creditors is an estimate based upon the information available to the Debtors
at this time.
Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 6 of 12
                          Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 7 of 12




 Fill in this information to identify the case:

 Debtor name         Watson Grinding & Manufacturing Co.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 6, 2020                        X /s/ Robert White
                                                                       Signature of individual signing on behalf of debtor

                                                                       Robert White
                                                                       Printed name

                                                                       Chief Operating Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 8 of 12


 Fill in this information to identify the case:
 Debtor name Watson Grinding & Manufacturing Co.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                               Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Astro Alloyws Inc.                                                                                                                                                               $0.00
 9155 Emmott Road
 Houston, TX 77040
 Baker Botts LLP                                                                                                                                                          $68,000.00
 910 Louisian Street
 Suite 3200
 Houston, TX 77002
 C&M Technologies                                                                                                                                                                 $0.00
 Group, Inc.
 350 North Saint Paul
 Street
 Dallas, TX 75201
 Earl M. Jorgensen                                                                                                                                                                $0.00
 6201 Lumerdale
 Road
 Houston, TX 77092
 Gulfco Forge                                                                                                                                                                     $0.00
 Company
 6817 Industrial Road
 Houston, TX 77005
 Halco Metals                                                                                                                                                                     $0.00
 9611 Telge Road
 Houston, TX 77095
 Hunter Chemical                                                                                                                                                                  $0.00
 LLC
 220 Commerce
 Drive
 #200
 Fort Washington,
 PA 19034
 Lineage Alloys                                                                                                                                                                   $0.00
 1901 Ellis School
 Road
 Baytown, TX 77521
 Matheson Tri-Gas                                                                                                                                                                 $0.00
 166 Keystone Drive
 Montgomeryville,
 PA 18936

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                               Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 9 of 12



 Debtor    Watson Grinding & Manufacturing Co.                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 North American                                                                                                                                                                   $0.00
 Höganäs Co.
 111 Hoganas Way
 Hollsopple, PA
 15935
 Norton Rose                                                                                                                                                              $58,000.00
 Fulbright
 1301 McKinney
 Street
 Suite 1500
 Houston, TX 77010
 Parrish                                                                                                                                                                          $0.00
 International, Inc.
 PO Box 468
 Hempstead, TX
 77445
 Scott Stainless                                                                                                                                                                  $0.00
 Specialities
 501 Georgia Avenue
 South Houston, TX
 77587
 Technical                                                                                                                                                                        $0.00
 Engineering, LLC
 100 Chapel Road
 Manchester, CT
 06042
 Texas Capital Bank                                                                                              $3,000,000.00                         $0.00          $3,000,000.00
 c/o Timothy Million
 600 Travis Street
 Suite 2350
 Houston, TX 77002
 ThyssenKrupp                                                                                                                                                                     $0.00
 Attention: General
 Counsel
 111 W Jackson
 Boulevard
 Suite 2400
 Chicago, IL 60604
 Tricor Metals                                                                                                                                                          $280,000.00
 3517 N Loop 336 W
 Conroe, TX 77304
 Victory Metals                                                                                                                                                                   $0.00
 4125 Hollister Road
 Houston, TX 77080
 Vinatech                                                                                                                                                                         $0.00
 Engineering
 7747 Formula Place
 San Diego, CA
 92121
 Webb Industrial LLC                                                                                                                                                              $0.00
 2433 Lofton Terrace
 Fort Worth, TX
 76109

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                              Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 10 of 12



 Debtor    Watson Grinding & Manufacturing Co.                                                               Case number (if known)
           Name




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims               page 3

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                         Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 11 of 12




                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Watson Grinding & Manufacturing Co.                                                          Case No.
                                                                                 Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Operating Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       February 6, 2020                                         /s/ Robert White
                                                                      Robert White/Chief Operating Officer
                                                                      Signer/Title




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                         Case 20-30967 Document 1 Filed in TXSB on 02/06/20 Page 12 of 12




                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Watson Grinding & Manufacturing Co.                                                          Case No.
                                                                                  Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Watson Grinding & Manufacturing Co. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



 None [Check if applicable]




 February 6, 2020                                                    /s/ Jarrod B. Martin
 Date                                                                Jarrod B. Martin
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Watson Grinding & Manufacturing Co.
                                                                     McDowell Hetherington LLP
                                                                     1001 Fannin, Suite 2700
                                                                     Houston, TX 77002
                                                                     (713) 337-5580 Fax:(713) 337-8850
                                                                     jarrod.martin@mhllp.com




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